     Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 1 of 20 Page ID
                                      #:52993



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15
                        IN THE UNITED STATES DISTRICT COURT
16
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
                                    SOUTHERN DIVISION
18
19      MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and             )
20      CERCACOR LABORATORIES, INC.,            ) PLAINTIFFS’ REPLY IN
        a Delaware corporation                  ) SUPPORT OF MOTION FOR
21                                              )
                    Plaintiffs,                 ) CONFIRMATION THAT PATENT
22                                              ) STAY HAS ENDED
              v.                                )
23                                              )
        APPLE INC., a California corporation    ) Hon. James V. Selna
24                                              )
                    Defendant.                  ) Date: June 27, 2022
25                                              )
                                                ) Time: 1:30 p.m.
26                                              ) Ctrm: 10C
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28                          PROPOSED TO BE FILED UNDER SEAL
     Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 2 of 20 Page ID
                                      #:52994



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     Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 3 of 20 Page ID
                                      #:52995



1                                                  TABLE OF CONTENTS
2                                                                                                                             Page No.
3
4       I.     INTRODUCTION ........................................................................................... 1
5       II.    THE COURT SHOULD CONFIRM THE STAY WAS LIFTED ................. 2
6              A.       Apple Moved For A Stay Pending Proceedings At The PTAB
                        Only ....................................................................................................... 2
7
               B.       The Case Can Proceed To Trial On Schedule ...................................... 4
8
        III.   THE COURT SHOULD DENY APPLE’S REQUEST FOR A NEW
9              STAY ............................................................................................................... 7
10             A.       Apple’s Request Is Procedurally Deficient ........................................... 8
11             B.       Apple Has Not Established The Requirements For Obtaining A
12                      Stay ........................................................................................................ 8

13                      1.        Legal Standards For A Stay ........................................................ 8

14                      2.        The Stage Of The Proceedings Weighs Against A Stay ............ 9

15                      3.        A Stay Is Unlikely To Simplify The Case ................................ 10

16                      4.        A Stay Would Prejudice And Tactically Disadvantage
                                  Plaintiffs .................................................................................... 13
17
                        5.        Totality of the Circumstances ................................................... 15
18
        IV.    CONCLUSION ............................................................................................. 15
19
20
21
22
23
24
25
26
27
28

                                                                      -i-
     Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 4 of 20 Page ID
                                      #:52996



1                                              TABLE OF AUTHORITIES
2                                                                                                               Page No(s).
3
4       AgroFresh Inc. v. Essentiv LLC,
          2019 WL 2327654 (D. Del. May 31, 2019) ....................................................... 12
5
        Baxter Healthcare Corp. v. Becton, Dickinson & Co.,
6         2021 WL 22553 (S.D. Cal. Jan. 4, 2021) ........................................................... 12
7       Biomet Biologics, LLC v. Bio Rich Med., Inc.,
8          2011 WL 4448972 (C.D. Cal. Sept. 26, 2011) ................................................... 13

9       Core Optical Techs., LLC v. Fujitsu Network Commc’ns, Inc.,
          2016 WL 7507760 (C.D. Cal. Sept. 12, 2016) ................................................... 11
10
        DivX, LLC v. Netflix, Inc.,
11         2022 WL 1208167 (C.D. Cal. Mar. 29, 2022) ............................................... 9, 12
12      Elms 3DS Innovations, LLC v. Samsung Elecs. Co.,
           2018 WL 1061370 (D. Del. Feb. 26, 2018)........................................................ 11
13
        Feltzs v. Cox Commc’ns Cal., LLC,
14         2022 WL 401807 (C.D. Cal. Jan. 21, 2022) ......................................................... 8
15      Fresenius USA, Inc. v. Baxter Int’l, Inc.,
           721 F.3d 1330 (Fed. Cir. 2013) ............................................................................ 3
16
        Guthrie v. Hurwitz,
17        2018 WL 4005261 (E.D. Cal. Aug. 20, 2018) ..................................................... 8
18      New Hampshire v. Maine,
19        532 U.S. 742 (2001)............................................................................................ 11

20      Nike, Inc. v. Skechers U.S.A., Inc.,
           2021 WL 4925447 (C.D. Cal. June 30, 2021) ...................................................... 3
21
        Otto Bock HealthCare LP v. Ossur
22         2013 WL 12313020 (C.D. Cal. Dec. 16, 2013) .............................................. 8, 13
23      Oyster Optics, LLC v. Ciena Corp.,
          2019 WL 4729468 (N.D. Cal. Sept. 23, 2019) ......................................... 9, 14, 15
24
        In re Papst Licensing GmbH & Co. KG Pat. Litig.,
25          320 F. Supp. 3d 132 (D.D.C. 2018).................................................................... 12
26      Polymer Techs., Inc. v. Bridwell,
27         103 F.3d 970 (Fed. Cir. 1996) ............................................................................ 13

28

                                                                  -ii-
     Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 5 of 20 Page ID
                                      #:52997



1                                                  TABLE OF AUTHORITIES
                                                          (cont’d)
2
                                                                                                                            Page No(s).
3
4       Realtime Data LLC v. Silver Peak Sys., Inc.,
          2018 WL 3744223 (N.D. Cal. Aug. 7, 2018) ..................................................... 12
5
        Robert Bosch Healthcare Sys., Inc. v. Cardiocom LLC,
6         2017 WL 6939167 (N.D. Cal. Mar. 16, 2016) ................................................... 12
7       Speakware Inc. v. Microsoft Corp.,
8          2019 WL 1878350 (C.D. Cal. Feb. 21, 2019) ...................................................... 8

9       Toshiba Tec Corp. v. Katun Corp.,
           2016 WL 9137646 (C.D. Cal. Sept. 21, 2016) ................................................... 13
10
        Universal Elecs., Inc. v. Universal Remote Control, Inc.,
11        943 F. Supp. 2d 1028 (C.D. Cal. 2013) .......................................................... 8, 13
12      Walker v. Life Ins. Co. Of the Sw.,
          2018 WL 5892163 (C.D. Cal. Oct. 22, 2018) ...................................................... 8
13
                                                      OTHER AUTHORITIES
14
15      35 U.S.C. § 318 .......................................................................................................... 3
16      Rule 26 ....................................................................................................................... 6
17
18
19
20
21
22
23
24
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                                                                        -iii-
     Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 6 of 20 Page ID
                                      #:52998



1             Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. (jointly,
2       “Masimo”), respectfully submit this reply in support of their motion to confirm that the
3       patent stay is no longer in effect for U.S. Patent Nos. 8,457,703 and 10,433,776.
4                                        I. INTRODUCTION
5             Apple does not dispute that it told the Court it was moving for a “short” “one
6       year” stay at the “PTAB”—not a multi-year stay including appeals to the Federal Circuit.
7       Nor does Apple dispute that the Court cited such representations in granting the stay.
8       Apple instead tries to retroactively change its requested relief by recharacterizing its use
9       of the term “final disposition.” According to Apple, it included Federal Circuit appeals
10      by requesting a stay “pending final disposition of Apple’s petitions for Inter Partes
11      Review . . . .” But Apple cropped that quote to omit that its sentence ended with “before
12      the Patent Trials and Appeals Board.” Thus, Apple’s stay motion made very clear that
13      Apple requested a stay through the final decision at the PTAB—not the Federal Circuit.
14            Apparently recognizing the weakness of its argument, Apple devotes most of its
15      brief to arguing in favor a new stay through appeal. Apple cannot seek new relief in an
16      opposition. Regardless, such a motion would lack merit. Since the last stay, the parties
17      have exchanged significant discovery that is also relevant to the “low power” patents
18      that the PTAB confirmed. The same type of statistics that Apple and the Court relied
19      on to support the prior stay (because patent challengers have a high rate of success at the
20      PTAB) now confirm a stay is inappropriate (because the Federal Circuit affirms the
21      overwhelming majority of IPR appeals). Masimo would also be severely prejudiced by
22      a new stay as Apple is now flooding the market with pulse oximetry products that
23      compete with Masimo.
24            Accordingly, the Court should confirm the stay has been lifted and reject Apple’s
25      procedurally improper and substantively unsupported request in its opposition for a new
26      stay pending appeal.
27      ///
28

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     Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 7 of 20 Page ID
                                      #:52999



1              II. THE COURT SHOULD CONFIRM THE STAY WAS LIFTED
2       A.    Apple Moved For A Stay Pending Proceedings At The PTAB Only
3             Apple repeatedly stated it sought a stay pending the “short” proceedings at the
4       PTAB—not the Federal Circuit. For example, Apple argued:
5              The “PTAB proceedings” would simplify this case. Dkt. 196-1 at 11.1
6              Simplification was likely because the “PTAB has instituted review” on “66%”
7                of relevant petitions and “80% of the PTAB’s Final Written Decisions” cancel
8                claims. Id. at 12.
9              “The shortened timeline of IPR proceedings also ensures that any stay granted
10               by the Court will be relatively short, which reduces the likelihood of undue
11               prejudice or tactical disadvantage to Plaintiffs.” Id. at 17.
12             The “PTAB’s Final Written Decisions” would issue by “March 2022, before
13               the scheduled trial date in this action (April 5, 2022).” Id. at 6.
14             The “one-year timeline for IPR proceedings” was “not enough” to constitute
15               prejudice to Masimo. Id. at 18.
16             “The patent infringement case can easily be restarted should [Masimo] prevail
17               in the PTAB.” Id. at 2.
18            Apple also distinguished Masimo’s cited authorities by relying on the expected
19      completion of the PTAB proceedings in early 2022—not resolution of the inevitable
20      appeals. Apple contrasted stays in those cases that lasted years because “the PTAB will,
21      by statute, decide all of Apple’s IPR petitions before trial commences in this case in
22      April, 2022.” Dkt. 213-1 at 7 n.3. Similarly, Apple dismissed Masimo’s concerns that
23      the PTAB proceedings could last until September 2022 because “such extensions are
24      extremely rare.” Id. at 10 n.4. Apple cannot credibly argue now that its prior arguments
25      for a stay until March of 2022 were actually arguments for a stay into 2023 or 2024.
26
        1
27       Unless noted otherwise, all emphasis is added. Numbered exhibits are attached to the
        Powell Declaration (Dkt. 737, 745-1) or Supplemental Powell Declaration (submitted
28      herewith). Lettered exhibits are attached to the Passamaneck Declaration (Dkt. 753-1).

                                                   -2-
     Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 8 of 20 Page ID
                                      #:53000



1             Apple ignores these facts and claims its request included appeals to the Federal
2       Circuit because Apple moved for a stay “pending final disposition of Apple’s petitions
3       for Inter Partes Review. . . .” Mot. at 1 (emphasis in original) (citing Dkt. 196-1 at 1).
4       As discussed, however, Apple cropped the critical end of its sentence. Apple moved for
5       a stay “pending final disposition of Apple’s petitions for Inter Partes Review (‘IPR’)
6       challenging all asserted claims of the twelve asserted patents before the Patent Trial
7       and Appeal Board (‘PTAB’).” Dkt. 196-1 at 1.
8             Apple then stretches further by arguing its reference to “final disposition” before
9       the PTAB meant appeals to the Federal Circuit because “the Patent Office’s ruling on
10      an IPR petition is not final until ‘the time for appeal has expired or any appeal has
11      terminated.’” Opp. at 4. As support, Apple relies on a statute that sets the timing for
12      publishing a formal “certificate” identifying claims that were canceled, confirmed, or
13      amended. 35 U.S.C. § 318(b). Apple also includes a “cf.” cite to an irrelevant collateral
14      estoppel case. See Fresenius USA, Inc. v. Baxter Int’l, Inc., 721 F.3d 1330, 1335 (Fed.
15      Cir. 2013). Finally, in a footnote, Apple claims that Nike, Inc. v. Skechers U.S.A., Inc.,
16      2021 WL 4925447, at *10 (C.D. Cal. June 30, 2021) “explained” that a stay pending
17      “final exhaustion” of IPR proceedings included appeals. Opp. at 4 n.2. But Apple cited
18      the court’s summary of the parties’ arguments in that case—not the court’s holding.
19      Nike, 2021 WL 4925447, at *10. The court refused to extend the stay through appeal.
20      Id. Regardless, Apple’s new argument cannot be squared with Apple’s arguments in
21      favor of the stay, which asserted the stay would be resolved before trial by “March
22      2022.” Dkt. 196-1 at 6. Apple made abundantly clear that it requested a stay pending a
23      final decision at the PTAB.
24            Apple next dismisses all of its prior representations about the “short” “one year”
25      proceedings at the “PTAB” as supposedly showing only “Apple’s optimism” that it
26      would prevail on all claims at the PTAB. Opp. at 4. That is not what Apple said at the
27      time, presumably because it would have undermined Apple’s entire request for a stay.
28      Instead, Apple argued a stay was appropriate even though Masimo was likely to prevail

                                                   -3-
     Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 9 of 20 Page ID
                                      #:53001



1       on some issues. For example, Apple argued, “even if some claims survive, by definition
2       the case will be narrower, as Apple’s invalidity challenges will have been substantially
3       narrowed.” Dkt. 196-1 at 11; see also Dkt. 213-1 at 13 (arguing if “any of the patent
4       claims survive,” estoppel will “streamlin[e] and focus[] any case that remains”); id. at
5       14 (arguing a stay would simplify the case “even if the PTAB were to deny institution”).
6       Apple even promised “[t]he patent infringement case can easily be restarted should
7       [Masimo] prevail in the PTAB.” Dkt. 196-1 at 2. Nothing supports Apple’s assertion
8       that its prior representations applied only if Apple won at the PTAB.
9             Finally, Apple argues its proposed order mentioned appeals and the Court granted
10      Apple’s request “without qualification.” Opp. at 3-4. But Apple cites nothing in the
11      Court’s Order to support that argument. Far from granting Apple’s request without
12      qualification, the Court wrote a detailed nine-page Order. Dkt. 220. The Court’s Order
13      identified the relief at issue as “a stay pending a determination by the Patent Trial and
14      Appeal Board (‘PTAB’) of [Apple’s] IPR petitions.” Dkt. 220 at 2. In granting that
15      relief, the Court cited to Apple’s arguments about the proceedings ending before trial.
16      Id. at 4 (“A final IPR determination is expected by March 2021 [sic – 2022], a month
17      before trial is set”); id. at 4 n.6 (rejecting Masimo’s concerns about extensions at the
18      PTAB because “there is a 96.2% chance that the written decision will be issued prior to
19      the date for which [the] jury trial is set”). Apple does not support its argument that the
20      Court necessarily granted relief buried in a proposed order that the Court did not sign.2
21      B.    The Case Can Proceed To Trial On Schedule
22            Apple also fails to rebut Masimo’s showing that the “low power” patents can
23      proceed to trial on schedule with the other pending claims. While the patent case was
24      stayed, the parties took extensive discovery on the non-stayed claims that is also relevant
25
        2
         Masimo cited cases for the uncontroversial point that courts need not grant unsupported
26      requests in proposed orders. Mot. at 4. Apple attempts to distinguish the facts of those
27      cases and blames Masimo for not previously addressing Apple’s new interpretation.
        Opp. at 5. Apple does not explain why Masimo should have rebutted an interpretation
28      that Apple did not offer and that is contrary to the arguments Apple actually made.

                                                   -4-
Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 10 of 20 Page ID
                                  #:53002
 Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 11 of 20 Page ID
                                   #:53003



1    (citing Ex. 6 at 16). Masimo had argued the patent claims were not “factually dependent
2    on the trade secret claims” such that they were not stayed pending compliance with
3    trade-secret disclosure requirements. Ex. 6 at 16. Masimo never asserted discovery
4    would not overlap. The Court expressly noted the potential overlap, and ordered Apple
5    to provide patent documents “now, notwithstanding the fact that they may overlap the
6    trade secrets case.” Id. at 12.4
7          Apple next argues that “adding” the “low power” patents ten months before trial
8    would “wreak havoc” on the schedule because some interim dates have passed. Opp. at
9    11. But Apple never says how much additional time it believes would be necessary to
10   proceed to trial. Apple’s argument is also inconsistent with its prior positions. In June
11   2021, when the parties had not begun producing ESI discovery and had taken no
12   depositions, Apple asserted the parties could complete all discovery in ten weeks. See
13   Dkt. 426 at 1. Although Apple’s overly optimistic predictions proved to be false,
14   discovery is now far more advanced. Apple should have specifically identified what
15   discovery it thinks cannot be completed and the specific time it thinks would be required,
16   so the court could meaningfully address the issue.
17         Apple also claims Masimo’s proposal for patent dates is “wildly optimistic”
18   because the parties previously agreed in the original Rule 26(f) report that more time
19   was necessary for claim construction. Opp. at 12 (citing Dkt. 33). But that was when
20   the case included twelve patents instead of two, before any discovery took place, and
21   before Apple’s defenses were severely limited by IPR estoppel. Indeed, Apple itself
22   argued that IPR proceedings will simplify the proceedings both through estoppel and
23   informing claim construction. Dkt. 196-1 at 11.
24   ///
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26   4
       Apple asserts its representations about overlapping discovery are irrelevant because
27   estoppel does not apply. Opp. at 8 n.6. Masimo did not argue estoppel. It cited Apple’s
     factual representations about overlapping discovery. Mot. at 7-8. The Court’s rejection
28   of Apple’s legal arguments does not change Apple’s factual representations.

                                                -6-
 Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 12 of 20 Page ID
                                   #:53004



1          Apple also fails to rebut Masimo’s assertion that the recent ITC investigation
2    between the same parties confirms the parties can proceed to trial by March 2023. In
3    the ITC, the parties prepared for a trial on five patents, from start to finish with no prior
4    discovery, in ten months. See Powell Decl. ¶ 11. Apple responds with the irrelevant
5    observation that the ITC’s original schedule set that timing. Opp. at 11. This case is not
6    starting from scratch, so crafting a schedule that gets these two patents to trial in ten
7    months should be reasonable. Apple also argues the ITC did not involve trade secret
8    and patent inventorship/ownership claims. Id. That is true, but the parties have been
9    conducting discovery on those claims for the past two-and-a-half years. Moreover, the
10   parties were able to litigate the ITC case in parallel with this case and the True Wearables
11   case. Nothing suggests that Apple (and its four law firms who made appearances in this
12   case) lack the resources to prepare for trial on two related patents in ten months.
13         Immediately after accusing Masimo of proposing a schedule that was too quick,
14   Apple accuses Masimo of trying to “lay the groundwork for more even [sic] delay in
15   this already protracted lawsuit.” Opp. at 12. Apple never explains why Masimo—the
16   plaintiff—would want delay. Masimo has been doing everything it can to move its case
17   forward in the face of Apple’s roadblocks. See Dkt. 557 (explaining Masimo’s efforts
18   at the time included hundreds of correspondence, dozens of meet and confers, and
19   fourteen motions to compel). However, Masimo would agree to a short continuance if
20   Apple establishes it actually needs more time to prepare for trial.
21         Accordingly, Masimo respectfully requests the Court confirm the stay has been
22   lifted for the “low power” patents.
23    III. THE COURT SHOULD DENY APPLE’S REQUEST FOR A NEW STAY
24         Apple appears to recognize its arguments about the existing stay lack merit
25   because it dedicates most of its brief to requesting a new stay through appeal. Apple’s
26   new request is procedurally and substantively deficient.
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                                                 -7-
 Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 13 of 20 Page ID
                                   #:53005



1    A.    Apple’s Request Is Procedurally Deficient
2          Apple’s request is improper because Apple never filed a motion requesting such
3    relief and cannot do so in its opposition. Walker v. Life Ins. Co. Of the Sw., 2018 WL
4    5892163, at *4 (C.D. Cal. Oct. 22, 2018) (rejecting opposition’s request for relief
5    because the party “must file its own properly noticed motion”); Guthrie v. Hurwitz, 2018
6    WL 4005261, at *1 (E.D. Cal. Aug. 20, 2018) (finding the court could not consider a
7    request for leave to amend made in response to a motion to strike). That alone is reason
8    enough to deny Apple’s request for a new stay.
9    B.    Apple Has Not Established The Requirements For Obtaining A Stay
10         As a preliminary matter, Apple attempts to prevent Masimo from responding on
11   the merits by asserting the Court should not consider Masimo’s arguments against a stay
12   because they were not in Masimo’s opening brief. Opp. at 7. Masimo’s opening brief
13   did not present arguments against a stay pending appeal because there is no motion for
14   a stay pending appeal. Masimo properly replies below to a new request that Apple made
15   in its opposition. See Feltzs v. Cox Commc’ns Cal., LLC, 2022 WL 401807, at *2 (C.D.
16   Cal. Jan. 21, 2022). As discussed below, Apple’s new request lacks merit.
17         1.     Legal Standards For A Stay
18         “The party seeking a stay bears the burden of showing that a stay is warranted.”
19   Otto Bock HealthCare LP v. Ossur hf, 2013 WL 12313020, at *2-3 (C.D. Cal. Dec. 16,
20   2013) (denying motion to stay). “[C]ourts in this district typically consider three factors:
21   ‘(1) whether discovery is complete and whether a trial date has been set; (2) whether a
22   stay will simplify the issues in question and trial of the case; and (3) whether a stay
23   would unduly prejudice or present a clear tactical disadvantage to the nonmoving
24   party.’” Speakware Inc. v. Microsoft Corp., 2019 WL 1878350, at *2 (C.D. Cal. Feb.
25   21, 2019) (quoting Universal Elecs., Inc. v. Universal Remote Control, Inc., 943 F. Supp.
26   2d 1028, 1030-31 (C.D. Cal. 2013)). These factors are “not exhaustive” as the decision
27   “must be based on the totality of circumstances.” Id. (internal quotations omitted). Each
28   factor weighs against Apple’s requested stay.

                                                 -8-
 Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 14 of 20 Page ID
                                   #:53006



1            2.    The Stage Of The Proceedings Weighs Against A Stay
2            Apple argues the stage of proceedings weighs in favor of a stay even though it
3    admits its own cited authority found this factor neutral because “the proceedings cannot
4    meaningfully progress while the stay remains in place.” Opp. at 8 n.5 (citing DivX, LLC
5    v. Netflix, Inc., 2022 WL 1208167, at *3-4 (C.D. Cal. Mar. 29, 2022)). Apple states
6    (without explanation) that it “disagrees” with DivX, but ignores that DivX analyzed
7    competing cases and explained that the factor cannot weigh in favor of a stay “because
8    otherwise the justification for maintaining the stays—based on the lack of progress in
9    the cases due to the stays themselves—would be circular.” DivX, 2022 WL 1208167, at
10   *3; see also Oyster Optics, LLC v. Ciena Corp., 2019 WL 4729468, at *2 (N.D. Cal.
11   Sept. 23, 2019) (“the existence of a stay, on its own, does not justify its perpetuation”).
12   As a result, this factor is at most neutral and cannot support Apple’s request.
13           However, this case presents facts that cause this factor to weigh against a stay.
14   Despite the patent case being stayed, the parties have made substantial progress on
15   discovery that overlaps with the patent case. The Court found the prior stay appropriate
16   because, while the parties had produced “approximately 150,000 pages of discovery
17   [citation], these numbers do not weigh heavily when compared to the substantial amount
18   of work in the months of discovery ahead.” Dkt. 220 at 4. The parties have now
19   produced over seven million pages of documents (almost 5 million from Masimo and
20   about 2.5 million from Apple). That is about fifty times greater than before the first stay.
21   Thus, Apple is wrong when it argues the case “has been frozen at the same early stage
22   it was when the Court first entered the stay.” Opp. at 7 (quotation omitted).
23           Apple does not seriously dispute that these large productions include substantial
24   documents that are also relevant to the “low power” patents. Apple does not dispute the
25   parties took discovery on each other’s pulse rate and pulse oximetry products. See Mot.
26   at 6.    Nor does Apple dispute that the parties took discovery on such products’
27   “algorithms, hardware configurations, marketing, and sales.”          See id.     Indeed, as
28   discussed, Apple appears to agree that it does not need more discovery.

                                                 -9-
 Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 15 of 20 Page ID
                                   #:53007



1          Unable to deny that the parties have made substantial progress, Apple attempts to
2    use its own delay to justify a stay. In particular, Apple argues there are now “just weeks”
3    left in discovery. Opp. at 1. The “just weeks” referenced by Apple is actually almost
4    ten weeks. Moreover, Apple acknowledges Masimo raised this issue a month earlier on
5    May 10. Id. at 2-3. Apple argues the dispute could have been resolved sooner if the
6    parties submitted a joint statement, but does not deny that Apple’s argumentative edits
7    to the joint statement prompted full briefing. Apple also acknowledges that Masimo
8    asked Apple to agree to expedited briefing. Ex. A. Apple declined, asserting it
9    somehow needed two weeks—double the standard amount of time—to respond to
10   Masimo’s short nine-page opening brief. Id.5
11         The caselaw explains this factor is, at most, neutral. In these circumstances,
12   however, the parties have made substantial progress in discovery since the Court issued
13   the original stay. As a result, this factor weighs against a stay.
14         3.     A Stay Is Unlikely To Simplify The Case
15         Apple also fails to show that a stay pending appeal is likely to simplify the case.
16   Apple argues the Court found “simplification is likely” when a defendant is “actively
17   involved” in IPR proceedings. Mot. at 10 (quoting Dkt. 220 at 5). Apple omits the rest
18   of the Court’s explanation: simplification was likely because only 20% of final written
19   decisions at the PTAB confirmed the patentability of all claims. Dkt. 220 at 5; see also
20   Dkt. 196-1 at 12 (Apple arguing 80% of PTAB decisions cancel some or all claims).
21         The same statistics now demonstrate that simplification is unlikely because the
22   Federal Circuit affirms IPR decisions issued by the PTAB over 80% of the time. Ex. 7.
23   Masimo could not locate affirmance rates broken down by result at the PTAB, but one
24   would expect affirmance rates to be even higher in relatively rare cases, like this case,
25
26   5
       Apple accuses Masimo of “sandbag[ing]” by “pretending” to work on a joint filing
27   while preparing this Motion. Opp. at 3 n.1. Apple is wrong. Masimo prepared its short
     opening brief over a weekend after receiving Apple’s argumentative edits to the joint
28   statement, and filed its motion that Monday. Suppl. Powell Decl. ¶ 2.

                                                 -10-
 Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 16 of 20 Page ID
                                   #:53008



1    where the PTAB confirms all claims. Thus, the statistics the Court found supported the
2    prior stay now demonstrate the opposite. Other courts have relied on similar statistics
3    to decline to extend stays pending appeal. See, e.g., Elms 3DS Innovations, LLC v.
4    Samsung Elecs. Co., 2018 WL 1061370, at *2-3 (D. Del. Feb. 26, 2018) (finding appeal
5    was unlikely to simplify issues because the “odds” of reversal were low).6
6          In a footnote, Apple argues it would be improper to rely on statistical evidence
7    because statistics do not show the same result would occur here. Opp. at 11 n.8. As
8    discussed, Apple argued the opposite to support the stay. See Dkt. 196-1 at 10-12
9    (relying extensively on statistical evidence). When Masimo criticized Apple’s use of
10   statistics, Apple argued the use of statistics was proper to show the “probability” of
11   simplification. Dkt. 213-1 at 15. The Court cited Apple’s statistics in concluding that
12   simplification was likely. Dkt. 220 at 5. Having obtained its stay by relying on statistical
13   evidence, Apple cannot now argue it would be improper to rely on statistical evidence.
14   See New Hampshire v. Maine, 532 U.S. 742, 749-50 (2001) (prohibiting a party who
15   succeeded in maintaining one position from taking a contrary position).
16         Apple also argues a stay might simplify issues “[i]f” Apple prevails on appeal.
17   Opp. at 10; see also id. at 11 (arguing Masimo ignored “the possibility that the Patent
18   Office could be reversed on appeal”). Such speculation does not meet Apple’s burden
19   to show simplification is likely. Moreover, Apple argued such a generic assertion is
20   inappropriate because it “likely applies in all stay motions, and thus proves too much.”
21   Dkt. 213-1 at 11 (quoting Core Optical Techs., LLC v. Fujitsu Network Commc’ns, Inc.,
22   2016 WL 7507760, at *2 (C.D. Cal. Sept. 12, 2016). Apple’s position is inappropriate
23   because it similarly would apply to any situation in which a defendant sought to appeal.
24   ///
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26   6
      Apple argues Elms is irrelevant because the defendant did not appeal all decisions.
27   Opp. at 5. But Apple omits the next paragraph, which explained the stay “no longer
     ma[de] good sense” even for the “11 patents-in-suit that [were] the subject of the appeal”
28   because the Federal Circuit was unlikely to reverse. Elms, 2018 WL 1061370, at *3.

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 Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 17 of 20 Page ID
                                   #:53009



1          Apple next argues the Court should stay all patent claims pending appeal to
2    eliminate the need for “multiple trials.” See Opp. at 10-11. Apple’s arguments and cited
3    cases do not apply because the “low power” patents here would be added to an existing
4    trial. Thus, granting Apple’s request for a new stay actually has the potential to
5    increase—not decrease—the number of trials the Court will need to conduct. Barring
6    appeals, granting Apple’s request for a stay would necessarily result in two trials: one
7    on trade secrets now and a second on the low power patents later. In contrast, denying
8    Apple’s request would result in a single trial under the current status.7
9          Apple’s cited cases are also distinguishable for other reasons. In one, the plaintiff
10   agreed to a motion that expressly “conditioned the stay on the resolution of any appeal.”
11   Baxter Healthcare Corp. v. Becton, Dickinson & Co., 2021 WL 22553, at *4 (S.D. Cal.
12   Jan. 4, 2021). In three other cases, the parties were not competitors and/or the plaintiff
13   did not seek injunctive relief. See DivX, 2022 WL 1208167, at *5; Realtime Data LLC
14   v. Silver Peak Sys., Inc., 2018 WL 3744223, at *2 (N.D. Cal. Aug. 7, 2018); In re Papst
15   Licensing GmbH & Co. KG Pat. Litig., 320 F. Supp. 3d 132, 139 (D.D.C. 2018). The
16   other two cases are even further afield because they addressed requests to proceed to
17   trial on patents even though the PTAB found all claims unpatentable. AgroFresh Inc.
18   v. Essentiv LLC, 2019 WL 2327654, at *2 (D. Del. May 31, 2019) (finding “if the
19   Federal Circuit upholds the PTAB decision, there will be no valid claims”); Robert
20   Bosch Healthcare Sys., Inc. v. Cardiocom LLC, 2017 WL 6939167, at *2 (N.D. Cal.
21   Mar. 16, 2016) (finding “if the PTO maintains its current position, Bosch will have no
22   claim for infringement whatsoever”). No such facts exist here.
23         Accordingly, the statistical evidence that Apple and the Court relied on when there
24   was an 80% chance of cancelling some claims now demonstrates at least an 80% chance
25
     7
       The Federal Circuit appeals could change the current status. If Masimo prevails on its
26   appeals, some or all of the other patents could be the subject of a second trial. A single
27   trial under Apple’s proposal is possible only if Apple prevails on all appeals brought by
     both Masimo and Apple. Apple’s argument that “multiple trials” is necessary
28   demonstrates that Apple believes Masimo’s appeals will succeed.

                                                -12-
 Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 18 of 20 Page ID
                                   #:53010



1    of affirmance. Apple’s speculation that a stay might simplify issues does not show
2    simplification is likely. This factor weighs heavily against a stay.
3          4.     A Stay Would Prejudice And Tactically Disadvantage Plaintiffs
4          The Federal Circuit has explained that “[c]ompetitors change the marketplace.
5    Years after infringement has begun, it may be impossible to restore a patentee’s (or an
6    exclusive licensee’s) exclusive position by an award of damages and a permanent
7    injunction. Customers may have established relationships with infringers.” Polymer
8    Techs., Inc. v. Bridwell, 103 F.3d 970, 975-76 (Fed. Cir. 1996). Thus, “when parties to
9    litigation are direct competitors” courts “presume that a stay will prejudice the non-
10   movant[.]” Otto Bock, 2013 WL 12313020, at *3. Courts deny motions to stay in such
11   circumstances. Id.; Universal Elecs., 943 F. Supp. 2d at 1033-34 (“infringement among
12   competitors can cause harm in the marketplace that is not compensable by readily
13   calculable money damages”); Toshiba Tec Corp. v. Katun Corp., 2016 WL 9137646, at
14   *4 (C.D. Cal. Sept. 21, 2016) (courts “regularly find this factor weighs strongly against
15   granting a stay where the parties are direct competitors”); Biomet Biologics, LLC v. Bio
16   Rich Med., Inc., 2011 WL 4448972, at *2 (C.D. Cal. Sept. 26, 2011).
17         Apple’s brief suggests that nothing has changed since the Court granted the
18   original stay. That is not correct. At the time, Apple had only recently announced it
19   would begin selling pulse oximetry products. See Dkt. 209-1 at 1. Apple has now been
20   flooding the market with its pulse oximetry products for twenty months. Moreover, the
21   Court previously concluded that Masimo would suffer no prejudice because
22                                                                          Dkt. 220 at 6 n.8.
23   Masimo is now in the second phase of release, known as limited market release, for that
24   product. Ex. 8.
25         Masimo has also long sold many consumer pulse oximetry products (e.g.,
26   MightySAT, iSpO2, Masimo Sleep). Apple previously argued those products do not
27   compete with the Apple Watch because they have “fingertip sensor[s]” and the Apple
28   Watch had other features. Dkt. 217 at 19. Apple claimed that treating such products as

                                                -13-
 Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 19 of 20 Page ID
                                   #:53011



1    competitors was “akin to saying a flashlight competes with a car (with headlights)
2    because they both provide light.” Id. at 20. Apple has since produced documents in
3    discovery showing its does not believe those assertions.
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25         Moreover, the prejudice of maintaining a stay pending appeal is inherently higher
26   than a stay only at the PTAB. While “the PTAB must complete an IPR by a statutorily-
27   imposed deadline,” the Federal Circuit “has no such deadline” so “there is no clearly
28   defined endpoint to a continued stay” pending appeal.       Oyster Optics, 2019 WL

                                              -14-
 Case 8:20-cv-00048-JVS-JDE Document 762-2 Filed 06/13/22 Page 20 of 20 Page ID
                                   #:53012



1    4729468, at *4 (finding prejudice even though plaintiff identified nothing other than
2    “prejudice inherent in any stay”). Here, Masimo’s prejudice is particularly acute due to
3    the combination of an open-ended Federal Circuit appeal and the parties becoming closer
4    competitors by the day.
5          Accordingly, the evidence of competition is much stronger now than it was when
6    Apple originally moved to stay. While the Court previously found this factor weighed
7    “slightly against” a stay, it now weighs heavily against a stay.
8          5.     Totality of the Circumstances
9          The Court previously granted a stay because “two of the three factors weigh in
10   favor of granting a stay, whereas the third weighs slightly in favor of denying a stay.”
11   Dkt. 220 at 8. As discussed, all three factors now weigh against a stay. Apple’s request
12   for a new stay pending appeal lacks merit and should be denied.
13                                     IV. CONCLUSION
14         Masimo respectfully requests the Court confirm that the patent stay on the “low
15   power” patents has ended. Masimo requests the Court decline to consider or deny
16   Apple’s new request for a stay. Masimo would welcome a status conference with the
17   Court to discuss a schedule on patent dates.
18                                             Respectfully submitted,
19                                             KNOBBE, MARTENS, OLSON & BEAR, LLP
20
21   Dated: June 13, 2022                      By: /s/ Adam B. Powell
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